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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the mandate of the

United States Court of Appeals for the Eighth Circuit (Filing No.

145), directing that defendant be resentenced.             Accordingly,

           IT IS ORDERED:

           1) That resentencing in this matter is scheduled for:

                 Friday, August 11, 2006, at 10:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           2) That the federal public defender shall appoint

Donald Schense to represent defendant during said proceedings.

           DATED this 26th day of June, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
